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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 Nicole Widmer, et al.,                                                           07/02/2024

                                 Plaintiffs,
                                                            1:23-cv-09482 (JPO) (SDA)
                     -against-
                                                            ORDER SCHEDULING
 Scale Facilitation, et al.,                                SETTLEMENT CONFERENCE

                                 Defendants.


STEWART D. AARON, United States Magistrate Judge:

         A settlement conference is scheduled before Magistrate Judge Stewart Aaron on Tuesday,

August 20, 2024, at 10:00 a.m. The conference shall proceed by Microsoft Teams unless the

parties advise the Court that they have access to and prefer proceeding by alternative remote

means.

         The Court will provide the Microsoft Teams information to the parties by email prior to

the conference. The parties must comply with the Settlement Conference Procedures for

Magistrate Judge Stewart D. Aaron, available at https://nysd.uscourts.gov/hon-stewart-d-aaron.

Please note that Section 4 of the Procedures requires counsel for each party to send a pre-

settlement conference letter no later than 7 days before the conference (i.e., Tuesday,

August 13, 2024).

SO ORDERED.

Dated:          New York, New York
                July 2, 2024

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                                                    STEWART D. AARON
                                                    United States Magistrate Judge
